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                        UNITED STATES DISTRICT COURT                 FEB 2 7 2019
                        EASTERN DISTRICT OF VIRGINIA
                                Norfolk Division


 SUZANNE KUNTZE,


             Plaintiff,

 V.                                                   Case No.: 2:18cv38


 JOSH ENTERPRISES, INC., d/b/a,
 JACKSON HEWITT TAX SERVICE,


              Defendant.




                                OPINION AND ORDER


       This matter is before the Court on a motion to dismiss, for

 lack of s\ibject matter jurisdiction and for failure to state a

 claim, filed by defendant Josh Enterprises, Inc. (''Defendant")

 pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of

 Civil Procedure.       Def. Mot., ECF No. 9.         Plaintiff Suzanne Kuntze

 ("Plaintiff")     claims   that       Defendant    violated   the   Fair    Labor

 Standards   Act   ("FLSA")      by    purposefully    misclassifying       her   as

 exempt from overtime, failing to pay her overtime, and failing to

 pay   her   at   her   regular       rate   for   mandatory   training     hours.

 Defendant contends that (1) it already paid Plaintiff the money to

 which she is entitled under the "fluctuating workweek" calculation

 for overtime pay,       thus   mooting Plaintiff's overtime claim and

 depriving the Court of jurisdiction; (2) Plaintiff failed to state

 a claim for unpaid regular time; and (3) even if Plaintiff amends

 her claim for unpaid regular time, the claim would be moot because
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 Defendant already paid more than full relief.         Plaintiff responds

 that (1) the fluctuating workweek method does not apply to the

 overtime claim advanced in this case and, therefore, her claim for

 overtime is not moot; and (2) she adequately alleged a violation

 of the FLSA for unpaid regular hours.          Alternatively, Plaintiff

 requests that she be granted leave to amend the record, or that

 the   Court permit the parties to conduct discovery, and that

 Plaintiff be granted leave to amend her complaint after discovery.

                  I. FACTUAL AND PROCEDURAL BACKGROUND


                          A. Factual Background

        Plaintiff began working for Defendant, a tax service company,

 in 2015 after Defendant acquired ownership of Plaintiff's previous

 employer.     Plaintiff worked for her previous employer year-round

 since 2005.     Compl. K 9, EOF No. 1.      In 2015, after taking over

 the company. Defendant gave Plaintiff the title of "Manager" and

 had her sign a new employment agreement.         Compl. H 10-11.      Under

 the new agreement. Plaintiff worked as a seasonal employee making

a bi-weekly salary of $1,280.00 during "tax season."          Compl. H 13;

 PI.'s Ex. B, ECF No. 1-2.         During the off season, she worked

reduced hours at an hourly wage.            Compl. H 14-15.      Plaintiff

alleges that, notwithstanding her title as "Manager," Defendant

took away her managerial job duties such as the ability to hire,

fire,     schedule,     and    supervise    employees,      reducing    her
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 responsibilities    to   that   of   a   ^^regular   customer   service    tax

 preparer."    Compl, % 12.

        At the end of 2015, Plaintiff was required to sign a new

 employment agreement to keep her position.              Compl. H 16.       The

 agreement kept Plaintiff on a bi-weekly salary of $1,280.00 during

 the tax season and changed her title to ''Shift Supervisor." Compl.

 H 16; Pl.'s Ex. C, ECF No. 1-3.           At the end of 2016, Defendant

 required Plaintiff to sign a new employment agreement which set

 her bi-weekly salary at $1,330.00 for the tax season.              Compl. H

 20; Pl.'s Ex. D, ECF No. 1-4.            None of the agreements capped

 Plaintiff's tax season hours, but all three required Plaintiff to

 clock-in and out.     Pl.'s Exs. B, C, D.      The agreements also noted

 that    Defendant   would    schedule     Plaintiff's     hours   "to     meet

 [Defendant's] customer demands because customer demand fluctuates

 throughout Tax Season." Pl.'s Exs. B, C, D.

        In a letter dated August 11, 2017, Plaintiff requested a

 $60,000 payment from Defendant to compensate her for unpaid

 overtime and regular time.      Def.'s Ex. A, ECF No. 10-1.       Defendant

 responded via counsel on November 18, 2017, with a letter stating

 that, while Defendant maintained that Plaintiff was exempt from

overtime, it would nonetheless compensate Plaintiff for overtime

based on the fluctuating workweek methodology.            Def.'s Ex. C, ECF

No. 10-3. With the letter. Defendant issued two checks purportedly

"in full satisfaction of         [Plaintiff's]        claims against     [her]
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 employer." Def.'s Ex. C.      The letter explained that one check, in

 the amount of $5,977.72, was for uncompensated overtime calculated

 based on half of her regular hourly rate under the fluctuating

 workweek method, plus an additional, equal amount, for liquidated

 damages.    Def.'s Ex. C.   The second check, which was in the amount

 of $267.78, was intended to compensate Plaintiff at her regular

 hourly rate for the sixteen and a half regular hours that she spent

 completing mandatory training.       Def.'s Ex. C.     Plaintiff did not

 cash the two checks and instead filed her complaint in this case

 on January 19, 2018.      Mem. in Support of Def.'s Mot. to Dismiss,

 ECF No. 10; Compl., ECF No. 1.

       The day before Plaintiff filed her complaint, counsel for

 Defendant sent a letter to Plaintiff's counsel highlighting issues

 raised during an earlier phone conversation.           Def.'s Ex. D, ECF

 No. 10-4.     The letter again emphasized that Defendant believed

 Plaintiff was exempt from overtime pay, but claimed that even if

 she was not. Defendant had already given Plaintiff every dollar to

 which she was entitled under the proper calculation method in this

 jurisdiction.     Def.'s Ex. D.      Counsel for Plaintiff replied to

Defense counsel's letter on January 19, 2018.           Def.'s Ex. E, ECF

 No. 10-5.      The letter from Plaintiff's counsel alleged that

Defendant    willfully misclassified       Plaintiff   as "exempt" from

overtime payment, argued that the fluctuating workweek method was

not applicable in this case, and demanded that Plaintiff be paid
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 based on a time-and-a-half calculation of overtime.               Def.'s Ex. E.

 The letter claimed Plaintiff sought a total of $29,298.90 as a

 settlement payment, which covered overtime calculated at the time-

 and-a-half    rate,    unpaid     training   time   at    her    regular      rate,

 liquidated damages, and attorney's fees.            Def.'s Ex. E.

         On April 12, 2018, counsel for Defendant sent Plaintiff's

 counsel two cashier's checks, one for $267.78 as payment for

 training hours at Plaintiff's regular hourly rate, and one for

 $5,980.10    as   payment     for    Plaintiff's      overtime        hours   plus

 liquidated damages.^       Def.'s Ex. F, ECF No. 10-6.            The facts in

 the record do not state whether Plaintiff cashed or deposited the

 cashier's checks.


                          B. Procedural Backgroiind

      Defendant filed the instant motion to dismiss on April 16,

 2018.    Def.'s Mot., ECF No. 9.        On July 11, 2018, the Court issued

 an order directing the parties to schedule oral argument on the

 motion to dismiss and to address controlling case law of the United

 States Court of Appeals for the Fourth Circuit that applied the

 half-time    calculation     of   the   fluctuating      workweek      method   to

 misclassification cases.          Order, ECF No. 17.            The   Court also

 directed Plaintiff to be prepared to address how discovery could

alter the amoimt of damages recoverable,                and   whether willful


^ Defendant's counsel explained that the slight difference in compensation from
the first two checks is based on a different method of roiinding used to calculate
the amount owed.
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 misrepresentations of entitlement to overtime have any relevance

 to civil damages, in light of the FLSA's provision regarding

 criminal prosecution for willful violations.            Order, ECF No. 17.

 The Court then held a hearing on the motion to dismiss on September

 25, 2018.


                            II. LEGAL STANDARD


                      A. 12(b)(1) Motion to Dismiss

                     1. Facial v. Factual Challenge

         A motion to dismiss pursuant to Rule 12(b)(1) of the Federal

 Rules of Civil Procedure for lack of subject matter jurisdiction

 may attack a complaint on its face, insofar as the complaint fails

 to allege facts upon which the court can base jurisdiction, or, as

 is the case here, it may attack the truth of any underlying

 jurisdictional allegations contained in the complaint.               Beck v.

 McDonald, 848 F.3d 262, 270 (4th Cir. 2017); Adams v. Bain, 697

 F.2d 1213, 1219 (4th Cir. 1982).         In the former situation, known

 as a facial challenge, the court is required to accept all of the

 complaint's factual allegations as true, ''and the plaintiff, in

 effect, is afforded the same procedural protection as he would

 receive under a 12(b)(6) consideration." Adams, 697 F.2d at 1219.

      In the latter situation, known as a factual challenge, "the

 district court may regard the pleadings as mere evidence^ on the


2 "Mere evidence" is evidence used to establish an ultimate fact, also knovm as
probative facts. See Belcher v. Tenn. Cent. Ry. Co., 377 S.W.2d 928, 931 (Tenn.
1964).
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 issue and may consider evidence outside the pleadings."             Velasco

 V. Gov^t of Indonesia, 370 F.3d 392, 398 (4th Cir. 2004) (citing

 Adams, 697 F.2d at 1219). In explaining how district courts should

 evaluate evidence presented in a factual challenge, the United

 States Court of Appeals for the Fourth Circuit has indicated that

 it depends on whether the jurisdictional facts are intertwined

 with the merits facts.      Kerns v. United States, 585 F.3d 187, 196

 (4th Cir. 2009).     Both scenarios are discussed below.

                        2. Facts Not Intertwined


       When   jurisdictional    facts   are   not   intertwined    with   the

 merits, the trial court may weigh evidence and resolve factual

 disputes to determine its jurisdiction.^ See Arbaugh v. Y&H Corp.,

 546 U.S. 500, 514 (2006); Adams, 697 F.2d at 1219; 2 Milton I.

 Shador & Mary P. Squiers, Moore's Federal Practice - Civil § 12.30

 (2018); 5B Charles Alan Wright &             Arthur R. Miller, Federal

 Practice and Procedure § 1350 (3d ed. 2004).            But see Richmond,

 Fredericksburq & Potomac R.R. Co. v. United States, 945 F.2d 765,

 768 (4th Cir. 1991) (applying a summary judgment standard in a

 case where jurisdictional facts were not intertwined with merits

facts, rather than weighing the evidence and resolving factual




3 Jurisdictional facts are not intertwined when they are "wholly unrelated to
the basis for liability." Kerns, 585 F.3d at 196; accord Brooks v. Shope, 430
F. App'x 220, 221 (4th Cir. 2011) (unpublished) (resolving a factual question
about citizenship because it was not related to proving the merits of the tort
claim).
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 disputes)        When such jurisdictional and merits facts are not

 intertwined,         the   plaintiff    bears    the    burden    of    proving

 jurisdiction by a preponderance of the evidence and may present

 ''affidavit[s], depositions or live testimony" to meet its burden.

 Adams, 697 F.2d at 1219; accord United States ex rel. Vuyyuru v.

 Jadhav, 555 F.3d 337, 437-48 {4th Cir. 2009).

        As footnote 3 notes, there are published Fourth Circuit cases

 that    apply    a    summary    judgment    standard   in     non-intertwined

 scenarios, and in doing so, make no reference to a district court's

 authority to weigh evidence, as previously established in Adams.

 However, in those cases, it does not appear that the issue of a

 district      judge's      authority   to   weigh   evidence     was   squarely

 presented to the Fourth Circuit.^            Moreover, in at least two of



    A line of Fourth Circuit cases following the decision in Richmond,
 Fredericksburg & Potomac Railroad has broadly applied a summary judgment
 standard, where the issue of the proper 12(b)(1) standard was not specifically
 raised, without regard to whether the facts were "intertwined" and without
 reference to a district court's ability to act as fact-finder and weigh evidence
 in a factual 12(b)(1) challenge. See Balfour Beatty Infrastructure, Inc. v.
 Mayor of Baltimore, 855 F.3d 247, 251 (4th Cir. 2017); AtlantiGas Corp. v.
 Columbia Gas Transmission Corp., 210 F. App'x 244, 247 (4th Cir. 2006)
 (unpublished); Evans v. B.F. Perkins Co., 166 F.3d 642, 647 (4th Cir. 1999).
 It appears, however, that the Ninth Circuit decision, from which Richmond,
 Fredericksburg Se Potomac Railroad draws the summary judgment standard, limits
 the application of such standard to intertwined cases. Trentacosta v. Frontier
 Pac. Aircraft Indus., Inc., 813 F.2d 1553, 1558 (9th Cir. 1987). Presumably,
 the Fourth Circuit would do the same if the issue was squarely presented.

 5 Of the cases cited in footnote 3, the issue was most closely presented to the
 Fourth Circuit in Evans. In Evans, the appellant argued that, even though the
 district court said it dismissed the claims under Rule 12(b)(1), the court
 actually dismissed the claims under Rule 12(b)(6). Brief of Appellant at 7-9,
 Evans, 166 F.3d 642 (No. 98-1002). Additionally, the appellant argued that,
 because the   case   was dismissed under Rule   12(b)(6), the district court's
 consideration of evidence outside the pleadings converted it to a motion for
 summary judgment. Id. In response, the appellees argued that the district
 court dismissed the claims under Rule 12(b)(1) and, therefore, was permitted to

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 the cases, there were not material disputes of fact, and thus,

 there    was   no   need   to   "weigh"   the    evidence.     Balfour    Beatty

 Infrastructure, Inc., 855 F.3d at 251; Richmond, Fredericksburg &

 Potomac R.R. Co., 945 F.2d at 769.              Accordingly, it appears that

 the Richmond line of cases should not be interpreted as directly

 "conflicting"       with   Adams   and    its    progeny,    and   this   Court,

 therefore, may follow the well-established standard set forth in

 Adams.


       Alternatively, to the extent that there is a direct conflict

 between the cases permitting district courts to weigh evidence and

 resolve disputed jurisdictional facts (Adams and progeny), and

 those applying a summary judgment standard (Richmond and progeny),

 this Court must follow Adams as it is the earlier-in-time decision.

 See McMellon v. United States, 387 F.3d 329, 333 (4th Cir. 2004).

 Moreover, the decision in Adams is consistent with more recent

 Supreme Court precedent and respected Civil Procedure treatises.

 See, e.g., Bolivarian Republic of Venez. v. Helmerich & Payne Int^l

 Drilling Co., 137 S. Ct. 1312, 1316 (2017) ("[W]here jurisdictional

 questions turn upon further factual development, the trial judge



 consider and weigh evidence beyond the pleadings without converting it to a
 motion for summary judgment.    Joint Brief for Appellees at 11-15, Eva^, 166
 F.3d 642 (No. 98-1002). Although the appellees brief mentioned a district
 court's ability to weigh evidence, the issue squarely before the Fourth Circuit
 was whether the district court decided the motion under Rule 12(b)(6) or under
 Rule 12(b)(1) to determine if it properly considered evidence outside the
 pleadings without converting the motion to one for summary judgment, not whether
 the court had the power to weigh evidence in a 12(b)(1) factual challenge. See
Evans, 166 F.3d at 647 & n.3.
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 may   take   evidence   and   resolve     relevant   factual   disputes

 Arbaugh, 546 U.S. at 514 (noting that "in some instances, if

 subject-matter jurisdiction turns on contested facts, the trial

 judge may be authorized to review the evidence and resolve the

 dispute on her own") (citing 2 Moore's Federal Practice § 12.30

 (3d ed. 2005);    5B Charles Alan Wright & Arthur R. Miller, Federal

 Practice and Procedure § 1350 (3d ed. 2004)).         Though those recent

 Supreme Court cases have not clearly defined the limitations on a

 trial court's authority to weigh evidence in the 12(b)(1) context,

 a review of case law from multiple circuits, including the Fourth

 Circuit, indicates that district courts may typically resolve

 factual disputes in 12(b)(1) motions unless the jurisdictional and

 merits facts are intertwined.       See, e.g.. Kerns, 585 F.3d at 192-

 93; Trentacosta, 813 F.2d at 1558; Williamson v. Tucker, 645 F.2d

 404, 415 (5th Cir. 1981).

       The propriety of such procedural rule is further bolstered by

 the fact that "courts . . . have an independent obligation to

 determine whether subject-matter jurisdiction exists, even in the

 absence of a challenge from any party."        Arbaugh, 546 U.S. at 514.

 It is necessary for federal courts to have the ability to determine

 their own jurisdiction as soon as possible because "^federal courts

 are courts of limited jurisdiction'" and they must be cautious not

 to overstep the power authorized by the Constitution and federal

 statute.     Gunn v. Minton, 568 U.S. 251, 256 (2013) (quoting

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 Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375, 377

 (1994)).       Accordingly, regardless of whether a "conflict'' exists

 in   the    law,   the    Court   concludes   that,   consistent   with   Adams,

 district courts are typically permitted to weigh evidence and

 resolve factual disputes to determine jurisdiction when such facts

 are not intertwined with the merits.            Adams, 697 F.2d at 1219.

                               3. Facts Intertwined


       The analysis in an intertwined case is more nuanced than the

 approach explained above for non-intertwined cases.                 When facts

 are said to be "intertwined," it means that facts necessary to

 prove jurisdiction overlap with facts necessary to prove the merits

 of   the    case   such    that a 12(b)(1)      motion   is,   essentially,    an

 indirect attack on the plaintiff's alleged factual merits.                Kerns,

 585 F.3d at 193.          In such a scenario, the plaintiff is not only

 facing     a   jurisdictional      challenge,   but "'a    challenge      to   the

 validity of h[er] claim.'"           Id. (quoting Williamson, 645 F.2d at

 415).      Thus, when jurisdictional and merits facts are intertwined,

 "[i]t is the better view that . . . the entire factual dispute is

 appropriately resolved only by a proceeding on the merits," which

 entails either denying the 12(b)(1) motion and proceeding with the

 case, or converting the 12(b)(1) motion into a motion for summary




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 judgment on the merits, as explained in detail below.®               Adams, 697

 F.2d at 1219 (emphasis added); accord Kerns, 585 F.3d at 193, 196.

       Of course, a trial court must first assume jurisdiction before

 it can deny the 12(b)(1) motion or convert it to a motion for

 summary judgment on the merits.              See Kerns, 585 F.3d at 193.

 Therefore, to assume jurisdiction, the trial court should engage

 in a threshold analysis to ensure that the plaintiff's allegations

 are sufficient to confer jurisdiction.            Rich v. United States, 811

 F.3d 140, 145 (4th Cir. 2015).         This step is, essentially, a facial

 analysis where "'a presumption of truthfulness should attach to

 the plaintiff's allegations'" to determine if they state facts

 that plausibly confer jurisdiction."^ Id. (quoting Kerns, 585 F.3d

 at 193).




 ® Recent Supreme Court case law suggests that, in some intertwined cases, rather
 than proceeding to determine the intertwined jurisdictional and merits facts at
 the merits/trial stage, the better course is to conduct a proceeding addressing
 jurisdiction "as near the outset of the case as is reasonably possible," even
 if it "must inevitably decide some, or all, of the merits issues." Bolivarian,
 137 S. Ct. at 1316-17, 1319.    The Supreme Court in Bolivarian was primarily
 concerned with the need to protect a foreign sovereign from suit and used that
 objective to justify its decision. Id. Further, in a Foreign Sovereign Immunity
 Act case, such as Bolivarian, there is no right to a jury trial, so allowing a
 district court to decide jurisdictional issues at an early stage would not
 deprive the parties of the right to a jury on the overlapping merits issues.
 See 28 U.S.C. § 1330(a); see also Houston v. Murmansk Shipping Co., 667 F.2d
 1151, 1152 (4th Cir. 1982). Therefore, a district court may be able to weigh
 evidence and decide intertwined factual issues without proceeding to the merits
 in cases such as Bolivarian where there are overriding concerns about protecting
 foreign sovereign immunity and where there is no risk of depriving the parties
 of the right to a trial by jury on the merits. However, such scenario is not
 before the Court in this case, and this Court, therefore, does not fully explore
 the parameters of a potential exception to the general rule that factual
 disputes in intertwined cases should be resolved in a proceeding on the merits.

 ■' As noted earlier, a facial analysis borrows from the 12(b) (6) standard.   Where
 the elements of the claim are also the basis for jurisdiction,       conducting a
 facial analysis may also decide whether plaintiff has stated a claim for relief

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       Assuming the allegations pass the threshold analysis required

 in such intertwined jurisdictional/merits facts cases, then the

 trial court may either (1) deny the 12(b)(1) motion and proceed

 with discovery, with the understanding that a party will file a

 motion for summary judgment after discovery (if doing so would not

 be frivolous); or (2) treat the 12(b)(1) motion as one for summary

 judgment and take it under advisement until the parties have

 conducted adequate discovery - this is what courts have referred

 to as simply ''proceeding on the merits," which is not to be

 confused     with    weighing   the     evidence    and    resolving      factual

 disputes.    Compare Carter v. United States, 694 F. App'x 918, 924

 (4th Cir. 2017) (unpublished) (stating that a court should deny

 the 12(b)(1) motion before proceeding to the merits) with Lutfi v.

 United     States,   527   F.   App'x      236,   241-42   (4th    Cir.    2013)

 (unpiiblished) (holding that the district court should have assumed

 jurisdiction and proceeded as if the defendant filed a motion for

 summary judgment).s        Either way, the plaintiff must be afforded

 the same procedural safeguards "that would apply were the plaintiff

 facing a direct attack on the merits," specifically the ability to



 on the merits under Rule 12(b)(6).         See Kerns, 585 F.3d at 193 (citing
 Williamson, 645 F.2d at 415) (emphasis added).

 ® It is not clear which approach is preferred in the Fourth Circuit. Though
 these approaches are technically procedurally different, ultimately, under
 either approach, the trial court is no longer making a jurisdictional decision
 under Rule 12(b)(1) and, instead, is making a decision on the merits under the
 summary judgment standard in Federal Rule of Civil Procedure 56.


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  conduct discovery.        Kerns /   585    F.3d    at 193.      At a   minimum,

  discovery should be adequate to "resolve the relevant factual

  disputes."    Kerns, 585 F.3d at 193, 196.^

                             B. Mootness Standard


        Defendant's motion to dismiss for lack of subject matter

 jurisdiction asserts that the case is moot because Defendant paid

 Plaintiff all that she is legally entitled to receive, and she

 has,   therefore,     received    "complete        relief."      A   court   loses

 jurisdiction over a case when it becomes moot.                Williams v. Ozmit,

 716 F.3d 801, 809 (4th Cir. 2013).            The mootness doctrine arises

 from the "case and controversy" requirement of the United States

 Constitution.     U.S. Const, art. Ill, § 2.           "[A] case is moot when

 the issues presented are no longer 'live' or the parties lack a

 legally cognizable interest in the outcome."                  Simmons v. United

 Mortg. And Loan Inv., LLC, 634 F.3d 754, 763 (4th Cir. 2011)

 (quoting United States v. Hardy, 545 F.3d 280, 283 (4th Cir. 2008))


 ® Kerns essentially held that the district court could limit discovery to the
 intertwined issue when it stated that the plaintiff "should be afforded an
 opportunity - at a minimum - to conduct discovery on the intertwined . . .
 issue," but the court did not specify whether the district court has discretion
 to limit discovery in both scenarios; when denying the 12(b)(1) motion or when
 treating the motion as one for summary judgment. Kerns, 585 F.3d at 196.
 Subsequent Fourth Circuit cases discussing the standard in intertwined cases
 only reference the need for "appropriate" discovery.     See Carter, 694 F. App'x
 at 924; Rich, 811 F.3d at 148. Because such case law appears to allow limited
 discovery and because district courts generally have the discretion to control
 the scope of discovery, it logically follows that a district court may limit
 discovery to the intertwined issue whether it chooses to deny the 12(b)(1)
 motion or treat it like a motion for summary judgment. See Fed. R. Civ. P.
 26(b); Columbus-America Discovery Group v. Atlantic Mut. Ins. Co., 56 F.3d 556,
 568 n.l6 (4th Cir. 1995) ("The scope and conduct of discovery are within the
 sound discretion of the district court.") (citing Erdmann v. Preferred Research,
 Inc., 852 F.2d 788, 792 (4th Cir. 1988)).

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 (internal quotation marks omitted) (alterations in original).                 In

 other words, a case is moot when it is impossible for the court to

 grant relief to the prevailing party, such as when ''complete

 relief"   has   been   secured   by    a    plaintiff.     United    States   v.

 Springer, 715 F.3d 535, 540 (6th Cir. 2013); Simmons, 634 F.3d at

 763.


             1. Supreme Court Standard from Campbell-Ewald

        The United States Supreme Court recently addressed mootness

 in the context of a defendant's offer of judgment under Federal

 Rule of Civil Procedure 68.        Campbell-Ewald Co. v. Gomez, 136 S.

 Ct. 663, 672 (2016). The Supreme Court held that a rejected offer,

 even when it provides the plaintiff the relief he or she seeks,

 does not moot a claim as it is considered an unaccepted settlement

 offer that does not divest the plaintiff of his or her interest in

 the case.    Id.   However, the Court expressly reserved decision on

 the hypothetical question of "whether the result would be different

 if   a defendant deposits        the   full    amount of    the     plaintiff's

 individual claim in an account payable to the plaintiff, and the

 court then enters judgment for the plaintiff in that amount." Id.

 Comparing the offer of judgment in the case before it to railroad

 tax cases in which the parties actually received payment that fully

 satisfied their tax claims, the Supreme Court suggested that an

 offer of judgment or settlement is legally different than actual

 payment because, in the former situation, the plaintiff has not

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 received the money.       Id. at 671 (citing California v. San Pablo &

 Tulare R.R. Co., 149 U.S. 308 (1893); Little v. Bowers, 134 U.S.

 547 (1890); San Mateo Co\mty v. Southern Pacific R.R. Co., 116

 U.S. 138 (1885)).         Additionally, both the concurring and the

 dissenting    opinions     in    Campbe11-Ewa1d       suggested    that   actual

 payment would moot a case because the plaintiff received full

 relief.      See   id.   at   676   (Thomas,    J.,    concurring)   ("Because

 Campbell-Ewald     only offered     to   pay Gomez's      claim    but took    no

 further steps, the court was not deprived of jurisdiction."); id.

 at   679   (Roberts,     C.J.,   dissenting);    id.    at   683   (Alito,    J.,

 dissenting)

                     2. Decisions Post-Campbell-Ewald

       After the decision in Campbe11-Ewald, courts have split on

 whether actual payment of full relief moots an individual's claim,

 with multiple decisions turning on whether the case was a class

 action.    Compare Leyse v. Lifetime Entm't Servs., LLC, 679 F. App'x

 44, 48 (2d Cir. 2017) (affirming the lower court's ruling that

 class certification was not warranted and that a deposit by the

 defendant of a full settlement and consent to judgment permits the

 court to enter judgment and moot the individual claim), S. Orange

 Chiropractic Ctr., LLC v. Cayan LLC, Civil No. 15-13069-PBS, 2016

 U.S. Dist. LEXIS 49067, at *12-13 (D. Mass. Apr. 12, 2016) (holding

 that, even though the individual plaintiff's claims were moot, the

 class action may proceed), and Price v. Berman's Auto, Inc., No.

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 14-763-JMC, 2016 U.S. Dist. LEXIS 35807, at *7-10, *8-9 n.3 (D.

 Md. Mar. 21, 2016) (holding that an unconditional tender of full

 relief by cashier's check was sufficient to moot a claim in a case

 where there were no class action concerns), with Fulton Dental,

 LLC V. Bisco, Inc., 860 F.3d 541, 545-46 (7th Cir. 2017) (holding

 a deposit into an accoimt with the court in the plaintiff's name

 before the plaintiff moved to certify the class was insufficient

 to   moot   the    individual      and   potential   class   claims),      Chen   v.

 Allstate    Ins.    Co.,    819    F.3d    1136,   1146-48   (9th       Cir.   2016)

 (deciding,    in    the    class    action     context,   that    the   individual

 plaintiff's claims were not moot), and             Ung v. Universal Acceptance

 Corp., 190 F. Supp. 3d 855, 860-63 (D. Minn. 2016) (declaring, in

 the class action context, that "there is no principled difference

 between a plaintiff rejecting a tender of payment and an offer of

 payment")         The Supreme Court has not yet resolved the split, and

 commentators disagree on how the Court will ultimately decide the

 unresolved hypothetical question.               Compare Justiciability-Class

 Action Mootness-Campbell-Ewald Co. v. Gomez, 130 Harvard L. Rev.

 427, 432 (2016)("If at some point, a defendant actually delivers



   The majority of the cases cited deal with class actions. As noted in Campbell-
 Ewald, in class action cases there are unique policy concerns about denying a
 class representative the opportunity to certify a class.         Campbell-Ewald, 136
 S. Ct. at 672 (majority opinion). Courts are more cautious when impacting rights
 of a large class of people, which leads them to be more cautious about mooting
 individual claims of class representatives. See, e.g., Chen, 819 F.3d at 1144-
 46 (refusing to deny an individual's claim as moot because the plaintiff had
 not yet had a chance to certify the class).


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 a payment constituting complete relief to a named plaintiff, it

  would   be    difficult   to   avoid    the   conclusion   that   the   named


 plaintiff's claim has been mooted"), and Thomas D. Rowe, Jr., 13

 Moore's Federal Practice § 68.04 (2018) ("In a case comprising

 only the plaintiff's individual claim, the sounder view is that

 the unconditional deposit of an amount that provides full relief

 moots the case."), with Katrina Christakis, et al., "So You're

 Telling Me There's a Chancel"; The I^ost-Campbell-Ewald Possibility

 of Mooting a Class Action by "Tender" of Complete Relief, 71

 Consumer Fin. L. Q. Rep. 237, 253 (2018) (arguing that only a few

 defendants have succeeded in mooting individual and class claims

 by tendering complete relief because of the "suspicion or outright

 hostility" of courts toward allowing defendants to moot claims).

               3. Fourth Circuit Standard Post-Campbell-Ewald

       An unpxiblished Fourth Circuit decision after Campbe11-Ewald

 briefly addressed the impact of attempted payment of complete

 relief, holding that the case was not moot when the plaintiff

 returned a check^i for the full amount of relief because the act

 of returning the check made the payment an unaccepted settlement

 offer.    Bennett v. Office of Fed. Emp.'s Grp. Life Ins., 683 F.

 App'x 186, 188-89 (4th Cir. 2017) (unpublished). The court did not



   The Fourth Circuit's opinion, as well as the parties' briefs in that case,
 describe the financial instrument as a "check," not a cashier's check.     See
 Bennett v. Office of Fed. Emp.'s Grp. Life Ins., 683 F. App'x 186, 188-89 (4th
 Cir. 2017) (unpublished); Informal Response Brief of Appellees at 13-14,
 Bennett, 683 F. App'x 186 (No. 16-1306), 2016 WL 2772693, at *11-14.

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 address the hypothetical question in Campbell-Ewald as to whether

 actual payment of full relief moots a claim, nor did it analyze

 case    law   from     other      jurisdictions     addressing      such    question.

 Additionally, it did not comment on what would happen if the check

 were not returned or if the defendant had made a more guaranteed

 form of payment, such as a cashier's check or a deposit in an

 account payable to the plaintiff.                 Therefore, the hypothetical

 question      raised   in    Campbe11-Ewald       remains     unanswered     in    this

 Circuit.


        Although there is no controlling precedent on this issue, at

 least   two    district     court    cases   from   within    the   Fourth    Circuit


 support the proposition that payment of complete relief can moot

 a claim.      First, in Price, the defendant provided the plaintiffs

 a   cashier's    check      for    the   full   amount   of    relief,     which    the

 plaintiffs subsequently returned.               Price, 2016 U.S. Dist. LEXIS

 35807, at *4-5.         The Maryland district court held that, because

 the plaintiffs returned the cashier's check, the claim was not

 moot at that time; however, if the defendant reissued the cashier's

 check to the plaintiffs and renewed its motion, the court would

 grant the motion to dismiss as moot.                Id. *8-10.      The Price court

 reasoned that a cashier's check would be adequate to moot a claim

 because the plaintiffs would possess all the money they would be

 entitled to had they prevailed through litigation.                         Id. at *7.

 Second, another District of Maryland case, citing to the dissents

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 in Campbe11-Ewald, also decided that actual payment of complete

 relief would moot a claim.          Gray v. Kern, 143 F. Supp. 3d 363,

 366-67 (D. Md. 2016), rev'd on other grounds, 702 F. App'x 132,

 143 (4th Cir. 2017) (unpublished).         Finding such cases persuasive,

 this Court concludes that, when an individual plaintiff receives

 complete relief for her claims, that plaintiff no longer has a

 live case or controversy because there is no additional relief

 that she can hope to obtain through further litigation.             Gray, 143

 F. Supp. 3d at 366-67; Price, 2016 U.S. Dist. LEXIS 35807, at *8-

 10.


         4. Whether Judgment is Necessary for Complete Relief

       Even if a defendant purports to pay a plaintiff the full

 amount of his or her claim, a judgment may be necessary to afford

 the   plaintiff   "complete      relief"   in   some   circumstances.       See

 Simmons, 634 F.3d at 765-66 (holding that payment that purportedly

 satisfied the entire claim did not moot the case because it was


 conditional    and   did   not   include   the    force   of   an   offer   for


 judgment); Winston v. Stewart Title and Guar. Co., 920 F. Supp. 2d

 631, 635 (D. Md. 2013) (reasoning that payment of a check without

 consenting to an entry of judgment would not give the plaintiff

 full relief because of the possibility that the defendant's check

 would be defective).       Importantly, part of the reason the offer of

 judgment in Campbe11-Ewald was insufficient to moot the case was

 because there was no guarantee that the defendant would actually

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 pay plaintiff the full amoimt necessary to satisfy her claim.

 Campbe11-Ewald, 136 S. Ct. at 672.                 While a judgment may be

 necessary to moot a claim in some scenarios, a judgment may be

 unnecessary to moot a claim if payment is assured in another way,

 such as through a duly issued cashier's check which, unlike a

 personal check, is guaranteed by a bank.                See Price, 2016 U.S.

 Dist. LEXIS 35807, at *8-9.

          5. Proper Calculation of Complete Relief for Overtime
                                  Under the FLSA


       In order to determine whether a defendant's proffer of a

 cashier's    check     to   a   plaintiff    for   an   FLSA   overtime   claim

 effectuates complete relief, a court must determine whether the

 amount of the cashier's check was properly calculated to cover

 unpaid overtime wages.          Under the FLSA, employees are entitled to

 receive additional payment for their overtime hours unless they

 can be classified as "exempt" from overtime payment.              29 U.S.C. §

 213   (listing   the    types     of   employees    classified   as   exempt).

 Employees    may bring suit against their employers for unpaid

 overtime if they believe they have been either willfully or

 mistakenly misclassified as exempt employees.             See, e.g., Desmond

 V. PNGI Charles Town Gaming, LLC, 630 F.3d 351, 353-54 (4th Cir.

 2011).     If an employer alleges that an employee's overtime claim

 has been rendered moot by sufficient payment effectuating complete




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 relief, the trial court must determine whether the payment was

 calculated at the proper overtime rate.

       Generally, under the FLSA, overtime is paid to non-exempt

 employees at the rate of time and a half, which means that an

 employee is paid for each hour at their normal hourly rate plus an

 additional amount equal to half of the employee's hourly rate.             29

 U.S.C.   § 207;   United   States    Dep't of    Labor   v.   Fire   & Safety

 Investigation Consulting Servs., LLC, No. 18-1632, 2019 U.S. App.

 LEXIS 3971, at *6-7 (4th Cir. Feb. 8, 2019) (explaining how to

 determine the proper rate for a time-and-a-half calculation).              The

 fluctuating     workweek    method    is   an    alternative     method    of

 calculating overtime for non-exempt employees that are paid a set

 salary even if their hours change week to week.                 29 C.F.R. §

 778.114(a).    There are four requirements to apply the fluctuating

 workweek   method:   (1)   the   employee's     hours fluctuate;     (2)   the

 employee receives a fixed salary that does not vaiy with the number

 of hours worked; (3) the employee's salary is sufficiently high

 that he or she does not make less than minimum wage in any given

 week; and (4) the employee and the employer have a clear and mutual

 understanding that the fixed salary will be paid regardless of the

 number of hours worked.      29 C.F.R. § 778.114(a); see Baclawski v.

 Fioretti, Civil No. 3:15-CV-417-DCK, 2017 U.S. Dist. LEXIS 111317,

 at *12-13 (W.D.N.C. July 18, 2017).




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       If the employee meets these criteria, the employee is paid

 for overtime hours at a rate of half of their average hourly salary

 each week instead of the standard time-and-a-half calculation.                   29

 C.F.R. § 778.114.          The theory behind the fluctuating workweek

 method for calculating overtime is that a salaried employee who

 meets the criteria has already received compensation for the

 regular and overtime hours worked because there are no set hours

 each workweek.      Therefore, the ''time" portion of time-and-a-half

 pay is already compensated, and the employer need only pay the

 employee the additional "half." 29 C.F.R. § 778.114; see Desmond,

 630 F.3d at 357 (explaining that, because the employees agreed to

 a straight time salary for all their hours, their only loss was a

 fifty percent premium for overtime hours).                In other words, the

 employee has bargained to be paid the same rate whether he or she

 works under or over forty hours (the "time" portion of time and

 half), and in exchange for the employer's promise to pay the same

 rate every week, the employee only receives the "half" portion of

 time and a half if he or she works over forty hours per week.^^




 ^2 Although courts in other jurisdictions disagree, the Fourth Circuit has held
 that the half-time calculation of the fluctuating workweek method can apply to
 calculate overtime damages in misclassification cases. Compare Desmond, 630
 F.3d at 354 (citing Overnight Motor Transp. Co. v. Missel, 316 U.S. 572, 579-
 80 (1942)) (holding that the half-time calculation of the fluctuating workweek
 method could apply to calculate damages in misclassification cases) with Boyce
 V. Indep. Brewers United Corp., 223 F. Supp. 3d 942, 948-49 (N.D. Cal. 2015)
 (holding   that   the   fluctuating   workweek   method    cannot   apply   in   a
 misclassification case).


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       For example,     consider an hourly employee who works for $10

 an hour and works thirty hours in week one making $300 for the

 week, forty hours in week two making $400, and fifty hours in week

 three making $550.      The $550 is calculated by adding $400 for the

 forty hours and $150 for the ten hours of overtime at a rate of

 $15 per hour (one and a half times the employee's normal $10 rate).

 On the other hand, consider a salaried employee who makes $400 per

 week, qualifies under the fluctuating workweek method, works the

 same number of hours as the hourly employee each week, and gets

 $400 in week one, $400 in week two, and $440 in week three.               The

 $440 is calculated by dividing the guaranteed $400 weekly salary

 by the total number of hours worked that week to get the average

 hourly salary for the week ($400 ^ 50 hours = $8.00 per hour).

 The eight dollars are then divided in half ($8.00 -s- 2 = $4.00 per

 hour) and multiplied by the number of hours worked overtime that

 week ($4.00 x 10 hours = $40).         That number is then added to the

 weekly salary ($400 + $40 = $440).         As shown by this example, the

 employee essentially bargained away the time-and-a-half rate he or

 she would have received as an hourly employee in order to receive

 a guaranteed $400 per week, even if the employee works less than

 forty hours.



    The Department of Labor provides additional examples of how to calculate
 overtime pay on its website. Handy Reference Guide to the Fair Labor Standards
 Act, Computing Overtime Pay, U.S. Dep't of Labor, https://www.dol.gov/whd/
 regs/compliance/hrg.htm#14 (September 2016).


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                 C. 12(b)(6) Motion to Dismiss Standard

       A motion to dismiss under Rule 12(b)(6) should be granted if

 a complaint fails to "allege facts to state a claim to relief that

 is plausible on its face."        Bell Atlantic Corp. v. Twombly, 550

 U.S. 544, 570 (2007).       The facts alleged must "allow[] the court

 to draw the reasonable inference that the defendant is liable for

 the misconduct alleged."        Ashcroft v. Iqbal, 556 U.S. 662, 663

 (2009).     A Rule 12(b)(6) motion "tests the sufficiency of a

 complaint and ^does not resolve contests surrounding the facts,

 the merits of a claim, or the applicability of defenses.'" Johnson

 V. Portfolio Recovery Assocs., LLC, 682 F. Supp. 2d 560, 567 (E.D.

 Va. 2009) (quoting Republican Party of N.C. v. Martin, 980 F.2d

 943, 952 (4th Cir. 1992)). As such, the district court must accept

 all factual allegations contained in the complaint as true and

 draw all reasonable inferences in favor of the plaintiff.            Id.

                               III. ANALYSIS


                            A. 12(b)(1) Motion

       This case is before the Court on a 12(b)(1) motion for lack

 of subject matter jurisdiction because Defendant claims that when

 it paid Plaintiff for her overtime hours, using the fluctuating

 workweek    calculation    method,    it   eliminated    the   "case    and

 controversy" over this portion of her case. For clarity, the Court

 begins its analysis of Defendant's mootness argument by briefly

 reviewing the 12(b)(1) framework utilized in this case.

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         When presented with a 12(b)(1) motion, a trial court must

 first    determine    if   the    jurisdictional       challenge    is    facial

 (attacking the adequacy of jurisdictional allegations on the face

 of the complaint) or factual (attacking the truthfulness of the

 jurisdictional claims).       Beck, 848 F.3d at 270.       If presented with

 a facial challenge, the Court must look only to the face of the

 complaint and accept its jurisdictional allegations as true to

 determine if jurisdiction has been sufficiently pled.               Adams, 697

 F.2d at 1219.       If the challenge is factual, however, the trial

 court may consider evidence beyond the pleadings to determine if

 it can exercise jurisdiction.           Velasco, 370 F.3d at 398.        Whether

 or not courts can weigh such evidence and make findings of fact

 depends on whether the facts necessary to prove jurisdiction are

 intertwined with the facts necessary to prove the merits of the

 case.    Kerns, 585 F.3d at 196.

       When   the   facts    are   not    intertwined    (meaning    the    facts

 necessary    to    prove   jurisdiction      are   unrelated   to   the   facts

 necessary to prove the merits of the plaintiff's claim), the trial

 court may weigh evidence and make findings of fact to resolve the

 jurisdictional dispute.       See Arbaugh, 546 U.S. at 514; Adams, 697

 F.2d at 1219.      In such a case, the plaintiff bears the burden of

 proving jurisdiction by a preponderance of the evidence.                  Adams,

 697 F.2d at 1219.




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        In contrast, when facts are intertwined (meaning that the

 facts necessary to prove jurisdiction overlap                with the facts

 necessary to prove the merits of the claims), a trial court should

 not weigh evidence and make findings of fact at the 12(b)(1) stage

 because doing so would deprive the parties of discovery and the

 right to a jury that parties are afforded in proceedings on the

 merits.   Arbaugh, 546 U.S. at 514; Kerns, 585 F.3d at 193.           Instead,

 the    trial   court    should   assume    jurisdiction     exists    (if    the

 jurisdictional    allegations     are     sufficient   on   their    face)   and

 proceed with limited or full discovery after either (1) denying

 the 12(b)(1) motion, or (2) converting the 12(b)(1) motion into a

 motion for summary judgment on the merits and taking it under

 advisement until discovery is completed and it is ripe for summary

 judgment - a process that courts have referred to as ''proceeding

 on the merits."        See Carter, 694 F. App'x at 924; Rich, 811 F.3d

 140.    Below, the Court applies this framework to the facts of this

 case.



                        1. Facial or Factual Challenge

        Defendant makes a factual jurisdictional challenge because it

 challenges the accuracy of jurisdictional allegations based on a

 change in factual circumstances after the complaint was filed.

 Defendant does not make a facial challenge because it is not

 challenging the adequacy of Plaintiff's allegations on the face of




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 her complaint.      Therefore, the Court may consider evidence beyond

 the pleadings.      See Velasco, 370 F.3d at 398.

                     2. Intertwined or Not Intertwined


       To determine the manner in which the Court may consider the

 evidence      presented,       the     Court       must    evaluate         whether    the

 jurisdictional facts are intertwined with the merits facts. Kerns,

 585 F.3d at 196.         This, of course, requires the Court to consider

 if the merits facts necessary for Plaintiff to succeed on her claim

 overlap    with    the    jurisdictional           facts   raised   by       Defendant's

 assertion of mootness.

       First,      the    Court    looks       to    the    essential        elements   of

 Plaintiff's     claim for overtime            under the      FLSA.^^        In order to

 succeed on the merits of her claim. Plaintiff must prove (1) that

 she was an employee of the Defendant, (2) that she worked overtime

 hours and the "amount and extent" of such work, (3) that Defendant

 failed to pay her the requisite overtime premium under the FLSA

 for   those    hours,    and     (4)   that    Defendant     knew      of    Plaintiff's

 uncompensated time.         See Hall v. DIRECTV, LLC, 846 F.3d 757, 111

 (4th Cir. 2017); Talton v. I.H. Caffey Distrib. Co., 124 F. App'x



   Plaintiff claims that she is entitled to overtime because Defendant willfully
 misclassified her as exempt from overtime by intentionally giving her the titles
 of ''Manager" and "Shift Supervisor" despite taking away her managerial and
 supervisory duties. Employees with primarily managerial or supervisory jobs
 can qualify \mder the "executive" exemption if they (1) are paid a salary at a
 certain rate, (2) have the primary duty of management, (3) "customarily and
 regularly direct the work of two or more other employees," and (4) have the
 authority to hire and fire. 29 C.F.R. § 541.100; accord 29 U.S.C. § 213(a)(1);
 Grace v. Family Dollar Stores, Inc., 637 F.3d 508, 513 (4th Cir. 2011).

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  760, 763 (4th Cir. 2005) (unpublished); Pforr v. Food Lion, Inc.,

 851 F.2d 106, 108-09 (4th Cir. 1988); see also Seagram v. David^s

 Towing & Recovery, Inc., 62 F. Supp. 3d 467, 474 (E.D. Va. 2014);

 Kevin    F.   O'Malley,    et   al.,    3C   Federal    Jury   Practice   and

 Instructions; Civil § 175:20 (6th ed. 2014).            The disputed element

 here is whether Defendant failed to pay Plaintiff the requisite

 overtime premium as required by the FLSA.

       Resolving such dispute necessarily depends on what method

 applies to calculate the overtime premium: the time-and-a-half

 method or the fluctuating workweek method.             While time and a half

 is the default method under the FLSA, the fluctuating workweek

 method is a product of case law and regulation that require proof

 of four elements: (1) the employee's hours fluctuate each week,

 (2) the employee receives a fixed salary that does not vary when

 hours fluctuate, (3) the employee's pay did not fall below minimum

 wage, and (4) the employer and employee have a clear and mutual

 understanding that fixed payment will be made for fluctuating

 hours.    29 C.F.R. 778.114(a); Baclawski, 2017 U.S. Dist. LEXIS

 111317, at *12-13.        Critical to the inquiry in this case is a

 question of fact about whether the parties had a clear and mutual

 understanding.

       Second, having reviewed the merits facts necessary to succeed

 on Plaintiff's claim, the Court looks to the facts necessary to

 establish jurisdiction in order to determine whether the merits

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 facts and jurisdictional facts overlap.             The jurisdictional issue

 of mootness in this case turns on whether the Defendant's payment

 for overtime under the fluctuating workweek method constituted

 ''complete relief."      See, e.g.. Price, 2016 U.S. Dist. LEXIS 35807,

 at *8-10.       The   resolution of such issue, of course, turns on

 whether the fluctuating workweek method is even applicable in this

 case.    Plaintiff advances two arguments against application of the

 fluctuating     workweek      method:   (1)    a   legal     argument   that       the

 fluctuating workweek method can never apply in cases where an

 employer     willfully      misclassifies     an   employee    as    exempt    from

 overtime, and (2) a factual argument that the fluctuating workweek

 method cannot apply in this case because there was not a clear and

 mutual understanding between the parties that Plaintiff's salary

 was intended to cover fluctuating hours.

                                a. Legal Argioment

       The    first    jurisdictional     argument     (that    the   fluctuating

 workweek method cannot apply in willful misclassification cases),

 though predicated on the assumption that Plaintiff can establish

 willfulness, is presented to this Court as a legal issue that the

 Court can resolve without any discussion of the facts of this case.

 Further, there are no relevant facts that Plaintiff can discover

 that would change the outcome of the Court's decision on such legal

 issue.      Cf. Rich, 811 F.3d at 146 (holding that a district court

 did   not     abuse   its    discretion       in   denying     discovery      on    a

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 jurisdictional      issue     because   there    were   ''no   facts    that    [the

 plaintiff]    could     have    uncovered       in    discovery      [that]    would

 establish jurisdiction").         Therefore, this issue, as presented to

 the Court, is not intertwined with the facts necessary to prove

 the   merits of Plaintiff's case and            the   Court can resolve it at


 this stage of the proceeding without allowing discovery.

       Because controlling precedent in the Fourth Circuit clearly

 applies the       half-time    calculation of the fluctuating             workweek

 method in non-willful misclassification cases, Plaintiff attempts

 to    draw    a    distinction      between      willful       and     non-willful


 misclassification.      See Desmond, 630 F.3d at 357-59.               Relying on

 the reasoning in district court cases from other jurisdictions.

 Plaintiff argues that the fluctuating workweek method cannot apply

 in willful misclassification cases because there can be no clear

 and mutual understanding that a fixed salary covers fluctuating

 hours when an employer misleads an employee into believing the

 employee is exempt from overtime. See, e.g., Boyce, 223 F. Supp.

 3d at 948-49 {holding that the fluctuating workweek method cannot

 apply    in   any     misclassification         case,     without      regard    to

 willfulness, because a clear and mutual understanding "cannot

 exist where the agreement is based on the false premise that the

 employee is not entitled to any overtime"); Costello v. Home Depot,

 944 F. Supp. 2d 199, 207-08 (D. Conn. 2013) (same).                      Defendant

 argues that such distinction is not recognized in the Fourth

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  Circuit, rendering the fluctuating workweek method applicable in

 both     willful   and    non-willful       misclassification       cases.     See

 Desmond, 630 F.3d at 357-59.

         In the Fourth Circuit's Desmond case, the district court ruled

 in the plaintiffs' favor, finding that the defendant willfully

 misclassified the plaintiffs as "exempt," yet also ruled in the

 defendant's favor, finding that the fluctuating workweek method

 applied.     Id. at 352.           The issues directly before the Fourth

 Circuit on cross appeals were (1) whether the half-time rate of

 the fluctuating workweek calculation method applied to calculate

 damages in misclassification cases and (2) the proper standard for

 determining whether the employer acted willfully, a finding that

 impacted the number of years that the plaintiffs could recover

 overtime wages.          Id. at 352, 357-58; Brief of Appellee/Cross

 Appellant at 1, Desmond, 630 F.3d 351 (No. 09-2189).                  The Fourth

 Circuit affirmed the district court's application of the half-time

 rate of the fluctuating workweek calculation method on the facts

 before it, but remanded on the issue of willfulness, finding that

 a genuine issue of material fact existed as to whether the employer

 acted    willfully,      without    any    suggestion   that    a    finding   of

 willfulness on remand would undercut the application of the

 fluctuating workweek method.              Id. at 359.   Logically, it seems

 clear that the Fourth Circuit anticipated that the lower court

 would apply the fluctuating workweek method, whether or not it

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 found that the employer willfully misclassifled the employees,

 otherwise, why would they remand.                  Thus, while Desmond may not be

 directly on point because the Fourth Circuit did not expressly

 decide the issue of whether the fluctuating workweek method could

 be    applied    in   willful       misclassification          cases,     the     logical

 implication of the decision is that the fluctuating workweek method

 can apply in such cases.                   Id. at 352.       Therefore, this Court

 relies on Desmond as Circuit authority standing for the proposition

 that the half-time calculation of the fluctuating workweek method

 can apply to calculate damages in willful misclassification cases

 if all requirements for its application are satisfied.^®

                                  b. Factual Argument

        The second jurisdictional argument advanced by Plaintiff is

 a factual argument contending that Defendant's payment did not




      Though   application   of     the   fluctuating     workweek   method   in    willful
 misclassification cases was not directly presented to the court in Desmond, the
 Appellants did present a policy argument that applying the fluctuating workweek
 method would be inappropriate because it would encourage employers to willfully
 misclassify their employees so that they would only have to pay half time
 instead of time and a half for overtime. Brief of Appellants at 6-7, Desmond,
 630 F.3d 351 (No. 09-2189). Such argument did not appear to impact the court's
 decision to apply the fluctuating workweek method even though the case before
 the court alleged willful misclassification.

 16 The Court observes that the           FLSA provides for criminal penalties if a
 defendant's violation of     the    FLSA   was    willful.   29 U.S.C.   § 216(a).   This
 provides further context for the decision not to differentiate between willful
 and non-willful violations when applying the fluctuating workweek method to
 civil misclassification cases, as the statutory scheme already provides for a
 mechanism to deter willful violations of the FLSA. Cf. Lanza v. Sugarland Run
 Homeowners Ass'n, 97 F. Supp. 2d 737, 740 (E.D. Va. 2000) (declining to impose
 civil punitive damages for willful violations of the FLSA because they would be
 "inconsistent with the statute's remedial scheme" and are unnecessary because
 criminal penalties existed).


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 render this case moot and deprive the Court of jurisdiction because

 Defendant calculated the payment using the fluctuating workweek

 method, and the fluctuating workweek method does not apply in this

 case because the parties lacked a clear and mutual understanding

 that Plaintiff's salary was intended to cover fluctuating hours.

 Like    Plaintiff's      merits-based        argument,   this   jurisdictional

 argument requires proof of facts necessary to determine which

 overtime calculation method was applicable.                 Accordingly, there

 is clearly substantial overlap in the facts necessary to prove the

 merits of Plaintiff's overtime claim and the facts necessary to

 resolve this jurisdictional issue. As discussed above, both issues

 turn on whether the parties had a clear and mutual understanding

 that Plaintiff's salary was intended to cover fluctuating hours.

        Because   facts    necessary     to      determine    jurisdiction   are

 intertwined with the facts necessary to determine the merits, it

 would be improper for the Court to resolve such factual disputes

 at this stage of the case as it would deprive the parties of their

 right to a jury trial on the merits issues.              Arbaugh, 546 U.S. at

 514 ("If satisfaction of an essential element of a claim for relief

 is at issue, however, the jury is the proper trier of contested

 facts."); Baclawski, 2017 U.S. Dist. LEXIS 111317, at *15 ("Under

 the circumstances, the undersigned finds that this matter should

 go to a jury to weigh the parties' evidence, or lack thereof, that

 there was a clear and mutual understanding about a fixed payment

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 for fluctuating hours."); see also Seymour v. PPG Indus., 891 F.

 Supp. 2d 721, 736-37 (W.D. Pa. 2012) (holding that the court could

 not moot a case in which there was a dispute about the proper

 calculation of damages for an overtime violation because ''the facts

 are facts which would normally be resolved by the jury").                 Thus,

 the   Court    should   assume      jurisdiction,   if   the    jurisdictional

 allegations are sufficient, and proceed to the merits by either

 denying the 12(b)(1) motion and permitting discovery to proceed,

 or converting it to a motion for summary judgment on the merits

 and permitting discovery to proceed. See Rich, 811 F.3d at 145;

 see also Kerns, 585 F.3d at 193.

               3. Ass\jming Jurisdiction to Reach the Merits

       In order for the Court to assume jurisdiction, the Court must

 engage in the threshold analysis, described herein as being similar

 to a "facial" analysis, and ask whether Plaintiff states facts in

 her complaint that plausibly confer jurisdiction.              See Carter, 694

 F. App'x at 924; Rich, 811 F.3d at 145; see also infra Part II.A.3.

 Plaintiff has adequately alleged, and Defendant does not contest,

 that this Court had federal subject matter jurisdiction under 28

 U.S.C. § 1331 when suit was filed because her claim for overtime


 arises under the FLSA, which is a federal law. Compl. H 6.

       Furthermore,      to    the     extent     that    circumstances     have

 purportedly     changed   because      Defendant    tendered    payment   after

 Plaintiff     filed   suit,   the    continued   exercise      of   jurisdiction

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 remains proper because there is a "live" controversy over the

 proper overtime calculation method.          See Simmons/ 634 F.3d at 763

 (stating that a case is moot and a court no longer has jurisdiction

 when the issues are no longer "live").          Plaintiff directly asserts

 in her complaint that she is owed damages calculated at the time-

 and-a-half rate and advances facts in support of her overtime

 claim.    Compl. K 27.      For example, the language of the employment

 contracts attached to her complaint,i'' and the facts alleged in the

 complaint about the lack of any discussion between the parties

 about    what hours the salary was intended to cover,               plausibly

 support her ongoing request for damages at the time-and-a-half

 rate.           Pl.'s Ex. B, ECF No. 1-2; Compl. Ht 13, 18.               The

 existence     of   the    open   question,   about   the   proper   overtime

 calculation method, is sufficient for the Court to assume that

 jurisdiction continues to exist.

                          4. Proceeding on the Merits

       Because      a     continued    assumption     of    jurisdiction    is

 appropriate, in order to protect the Plaintiff's right to discovery

 and a jury trial on the merits, the Court must either deny the

 12(b)(1) motion and permit discovery to proceed, or convert it to

 a motion for summary judgment on the merits and permit discovery




   Federal Rule of Civil Procedure 10(c) allows the Court to consider documents
 attached to the pleadings.       Fed. R. Civ. P. 10(c) ("A copy of a written
 instrument that is an exhibit to a pleading is a part of the pleading for all
 purposes").

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 to proceed.    See Arbaugh, 546 U.S. at 514 (discussing the need to

 protect the right to a trial by jury on the merits); Kerns, 585

 F.3d at 193, 196 (discussing the need to allow for procedural

 protections, such as discovery, when the jurisdictional and merits

 facts are intertwined, before proceeding on the merits).              Here,

 for the following reasons, the Court finds that the better course

 is to deny the 12(b)(1) motion to dismiss and proceed with full

 discovery, as requested by Plaintiff.       This is not a large, complex

 case with numerous claims, such that isolating the intertwined

 issue, taking the motion under advisement, and proceeding with

 limited discovery would provide for a more effective and efficient

 resolution of the case.      Rather, this case is limited to two FLSA

 claims between an individual Plaintiff and a single employer.            The

 intertwined factual issue, of whether there was a clear and mutual

 understanding such that payment was sufficient, is the main issue

 in the case.    Taking the motion under advisement and attempting to

 address it after limited discovery will cause unnecessary delay.

 Accordingly, the Court DENIES the 12(b)(1) motion to dismiss.            If,

 after discovery.     Defendant believes      that no   genuine   issue   of

 material facts exists as to this issue, then Defendant may file a

 motion for summary judgment on the merits.




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                             B. 12(b)(6) Motion

       In addition to Defendant's 12(b)(1) motion to dismiss the

 overtime claim for lack of subject matter jurisdiction, also before

 the Court is Defendant's 12(b)(6) motion to dismiss Plaintiff's

 claim for unpaid regular time.        Plaintiff claims that she is owed

 her average hourly rate, plus full liquidated damages, for sixteen

 and a half hours of "uncompensated regular time" she spent in

 training.    Compl. ^ 24. Defendant argues that, because Plaintiff's

 complaint does not allege that Defendant's failure to pay her for

 this time caused her weekly payment to fall below the statutory

 minimum wage, she has not stated a claim for unpaid wages under

 the FLSA.


               1. Stating a Claim for Regular Time Wages

       The   FLSA   does not protect       against all improper payment

 practices for regular hours that are actionable in a civil lawsuit,

 but, rather, protects against minimum wage violations for failure

 to pay for regular hours.          29 U.S.C. § 206.          Accordingly, an

 employer    does   not   violate   the    FLSA   unless    the   total   weekly

 compensation divided by the number of hours worked yields an hourly

 rate below ''minimum wage."        Blankenship v. Thurston Motor Lines,

 Inc., 415 F.2d 1193, 1198 n.6 (4th Cir. 1969).            Therefore, to state

 a plausible claim for unpaid wages for regular time (as opposed to

 overtime) under the FLSA, Plaintiff must allege enough facts for

 the Court to infer that her weekly hourly wage rate fell below the

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 federal minimum wage of $7.25 per hour.                 See Gregory v. FedEx

 Ground Package Sys., No. 2:10cv630, 2012 U.S. Dist, LEXIS 87798,

 at *24-25 (E.D. Va. May 9, 2012), report and recommendation adopted

 by Gregory v. FedEx Ground Packaging Sys., No. 2:10cv630, 2012

 U.S. Dist. LEXIS 87830, at *4 (E.D. Va. June 22, 2012) ("[A]n

 employer's failure to pay an employee for each hour worked is not

 a violation of § 206.         Rather, an employer violates the FLSA only

 when an employee's compensation for the week falls below the

 statutory minimum . . . ."); Avery v. Chariots for Hire, 748 F.

 Supp. 2d 492, 501 (D. Md. 2010) (^^Plaintiffs have alleged that

 they were unpaid for certain hours that they worked, but have not

 alleged that they were not paid the statutory minimum for each of

 the total number of hours they worked.           Therefore, Plaintiffs have

 not stated a claim for unpaid wages under the FLSA.").

                     2. Sufficiency of the Complaint

       Plaintiff's    complaint     seeks      payment   at   her   normal    rate

 (approximately     $16   an    hour)   plus    liquidated    damages   for    the

 uncompensated hours she worked on mandatory training.                  Compl. f

 24.   Plaintiff does not allege that the failure to compensate her

 for the additional training hours caused her average wages for the



   Specifically, Plaintiff alleges that she completed four hours of training on
 January 3, 2015, two and a half hours of training on January 4, 2015, two hours
 of training on December 29, 2015, two hours of training on December 31, 2015,
 and six hours of training in January 2017 (a specific date is not provided) for
 a total of sixteen and a half hours. Compl. f 28.       She requests damages at a
 rate of approximately $16 an hour for these hours, for a total of $267.78, plus
 liquidated damages. Compl.    28, 37.

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 week to fall below the minimum rate of $7.25 an hour.                  Plaintiff

 argues   in    her    response    to    the    12(b)(6)   motion    that,   "[b] y

 implication," her complaint alleges that Defendant violated the

 FLSA by failing to pay her the statutory minimum when the training

 hours are included in the number of hours worked for those weeks.


 Pl.'s Resp. 6, ECF No. 11.             However, such alleged implication is

 not   apparent       on   the   face    of    the   complaint,    rendering   the

 allegations    insufficient       to satisfy the        plausibility pleading

 standard.     See Twombly, 550 U.S. at 554.           Therefore, the complaint

 does not sufficiently allege an FLSA claim for Plaintiff's unpaid

 regular time, and the Court GRANTS Defendant's 12(b)(6) motion as

 to such claim.


                                 3. Leave to Amend


       Plaintiff requests that, if the Court dismisses her regular-

 time claim under Rule 12(b)(6), she be granted leave to amend her

 complaint.     Pl.'s Resp. 6.          The Federal Rules of Civil Procedure

 provide that ''court[s] should freely give leave [to amend the

 pleadings] when justice so requires."               Fed. R. Civ. P. 15(a)(2).

 Courts should only deny leave to amend when (1) there would be

 prejudice to the opposing party, (2) the moving party acted in bad

 faith, or (3) the amendment would be futile.               Edwards v. City of

 Goldsboro, 178 F.3d 231, 242 (4th Cir. 1999).                    An amendment is

 futile if the claim would still be dismissed after the amendment.




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 See United States ex rel. Wilson v. Kellogg Brovm Root, Inc., 525

 F.3d 370, 376 (4th Cir. 2008).

         Here, Defendant argues that an amendment would be futile

 because, even if Plaintiff's amended complaint properly alleged

 that she was paid below the $7.25 statutory minimum, her claim

 would be dismissed as moot because she has been more than fully

 compensated by the cashier's check paying her at a rate of $16 an

 hour.    See Price, 2016 U.S. Dist. LEXIS 35807, at *8-10; see also

 Def.'s Br. 21-22, ECF No. 10.              In response. Plaintiff broadly

 argues that she is entitled to more damages.            Pl.'s Resp. 6.

       With regard to Defendant's argument that the amended claim

 would be moot, because facts relevant to the merits of Plaintiff's

 minimum wage claim appear to be intertwined with facts relevant to

 the jurisdictional issue of mootness, this Court declines to find

 that amendment would be "futile.               This   Court cannot resolve

 factual disputes over damages without depriving Plaintiff of the

 procedural protections afforded in a proceeding on the merits.




    To succeed on the merits of her claim for minimum wage. Plaintiff needs to
 prove that '*(1) [she] was employed by the defendant; (2) [she] engaged in
 commerce or in the production of goods for commerce; and (3) [she] was not
 compensated for all hours worked during each work week at a rate equal to or
 greater than the then-applicable minimum wage." Urquia v. Law Office of Kyle
 Courtnall, PLLC, No. 1:14-cv-00056, 2014 U.S. Dist. LEXIS 189569, at *7 (E.D.
 Va. May 19, 2014) (citing 29 U.S.C. § 206).    The jurisdictional issue depends
 on whether the amount Defendant paid was complete relief for Plaintiff's minimum
 wage claims. Both the third element of her claim and the jurisdictional issue
 require proof of the number of hours Plaintiff worked and the compensation she
 received for those hours.



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         Notwithstanding     Defendant's          payment,      this   Court     has

 substantial reservations about whether Plaintiff can, in good

 faith, allege that her wages fell below $7.25 an hour in the weeks

 she completed unpaid training.           Plaintiff's timecards attached to

 her complaint show the number of additional hours she alleges that

 she worked in the weeks she completed training.                  Pl.'s Exs. E-G,

 EOF No. 1-5 to 1-7.         Plaintiff only alleges that the training

 hours, not the other regular hours each week, were unpaid.                   Compl.

 H 28.     If Plaintiff was paid her salary, or at an hourly rate of
 $16 for the other hours worked in those                     weeks, it appears

 questionable that her average pay rate would fall below $7.25 an

 hour based on a few unpaid hours.20

        That said, because Defendant does not argue futility on such

 grounds, and because the Court is wary to speculate regarding the

 proper mathematical calculations, the appropriate course is to

 afford Plaintiff the opportunity to amend her complaint, cf. Davis

 V.   Piper    Aircraft   Corp. /   615    F.2d    606,   613   (4th   Cir.    1980)

 ("[C]onjecture about the merits of the litigation should not enter

 into    the   decision   whether   to    allow     amendment.").      For     these



 20 For example, Plaintiff claims she was not paid for 4 hours of training on
 December 29 and December 31, 2015. Compl. H 28. In addition to the 4 hours of
 allegedly unpaid training. Defendant's timecard indicates that she worked 4.40
 hours that week, for a total of 8.40 hours. Pl.'s Ex. E. Assuming that she
 was paid for the 4.40 hours at her regular rate of $16 an hour. Plaintiff made
 $70.40 that week. When the weekly pay of $70.40 is divided by the 8.40 hours
 of work, the rate is equal to approximately $8.38 an hour, which is $1.13 over
 minimum wage.


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 reasons, and because leave to amend should be freely given, the

 Court PROVIDES Plaintiff leave to amend her complaint to state an

 FLSA claim for unpaid regular hours, if she can do so in good

 faith.


                               IV. CONCLUSION


       For the reasons set forth above. Defendant's motion to dismiss

 Plaintiff's overtime claim for lack of subject matter jurisdiction

 is DENIED.   Defendant's motion to dismiss Plaintiff's regular time

 claim for failure to state a claim is GRANTED, and Plaintiff is

 PROVIDED leave to amend her complaint to state an FLSA claim for

 unpaid regular hours within twenty-one days (21) days of the date

 of this Opinion and Order, if she can do so in good faith.

       The Clerk is DIRECTED to send a copy of this Opinion and Order

 to all counsel of record.


       IT IS SO ORDERED.




                                                    /s
                                                Mark S. Davis
                                     CHIEF UNITED STATES DISTRICT JUDGE




 Norfolk, Virginia
 February    / 2019




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